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MoTIoN FOR LEAVE T0 APPEAL AT mann DIST. egan
F&En “

IN THE UNITED STATES BANKRUPTCY COUR
FOR THE WESTERN DISTRICT OF VIRGINIA
LYNCHBURG DIVISION

  

 

IN RE: BOSS MANAGEMENT GROUP, INC. A CHAPTER: 7

VIRGINIA CORPORATION
CASE NO. : 05-61589

DEBTOR(S)

 

 

WILLIAM F SCHNEIDER, TRUSTEE
ADVERSARY PROCEEDING NO.

Plaintifi`(s) 06-06081
MOTION NO. N/A
FABRIKO ACQUISITION CORPORATION
Defendant(s) Appellant(s)

and MID-WEST TEXTILES, INC.

Defendant(s)

 

FABRIKO ACQUISI'I`ION CORPORATION

3rd Party Plaintiff(s) Appellant(s)

ADVISCO CAPITAL CORPORATION
and PHILIP A NEWMAN

3rd Party Defendant(s)

 

 

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VOLUME 1
Appeai Docket Docket
Index Entry Entry
Number Date Number Description
1 5/8/07 53 Motion for Leave to Appeal filed by Defendant, Fabriko Acquisition Corporation
2 5/8."07 54 Notice of Appeal filed by I)efendant, Fabriko Acquisition Corporation
3 513/07 43 Order dismissing Third Party Complaint
4 5/3/07 41 Orcler dismissing Motion to Amend Complaint
5 5/3/07 44 Order dismissing Motion for Jury Trial
6 5/3/07 40 Order and Memorandum Decision

 

 

 

 

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5."15/07

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Notice of Del`lciency for Appeal - Cost not Paid ( $5.00 notice of appeal fee for filing
Interlocutory Appeal for Motion for Leave)

 

6)"7/07

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Order that the Clerk remove the hearing on Motion for leave to take interlocutory appeal
from the calendar and that the Clerk shall immediately transmit the Notice of Appeal and
the Motion for leave to appeal to the Clerk of the U.S. District Court for this District

 

Copy of Case proceeding docket

 

 

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Copy of Adversary proceeding docket

 

CERTIFICATE:

I, John W. L. Craig, II, Clerk of` the United States Bankruptcy Couit for the Western District of Virginia, do hereby certify that

the documents submitted under this certificate are copies of the record as designated and filed by the Appellant and Appellee or are copies
of original documents of record on file in my office. A true copy of the docket entries as they appear in the official docket is submitted

The following are submitted:

VOLUME 1 - CASE PAPERS

Copies of this index are being mailed to the Debtor(s), Counsel for Debtor(s), Case Trustee, U.S. Trustee if applicable, Counsel

for Appellant(s) and Appellee(s), Counsel for all other parties of record, the United States Bankruptcy Judge issuing the order appealed
and Law Clerk to the United States Bankruptcy Judge issuing the order appealed

Dated: 6/7/07

tcapl.fnn
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IN TESTIMONY WHEREOF, I hereunto set my hand and affix the Seal of said Court.

JOHN W. L. CRAIG, II, CLERK

By /s/ Janet Fallen
Janet Fallen, Deputy Clerk

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